                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

UNITED STATES OF AMERICA                               )
                                                       )        Case No. 1:12-cr-48
                                                       )
v.                                                     )
                                                       )        COLLIER / LEE
CHRISTOPHER UPSHAW                                     )

                              REPORT AND RECOMMENDATION

       Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on September 13,

2012. At the hearing, defendant moved to withdraw his not guilty plea to Counts One and Two of

the six-count Indictment and entered a plea of guilty to Counts One and Two of the Indictment, in

exchange for the undertakings made by the government in the written plea agreement. On the basis

of the record made at the hearing, I find the defendant is fully capable and competent to enter an

informed plea; the plea is made knowingly and with full understanding of each of the rights waived

by defendant; the plea is made voluntarily and free from any force, threats, or promises, apart from

the promises in the plea agreement; the defendant understands the nature of the charge and penalties

provided by law; and the plea has a sufficient basis in fact.

       Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Counts

One and Two of the Indictment be granted, his plea of guilty to Counts One and Two of the

Indictment be accepted, the Court adjudicate defendant guilty of the charges set forth in Counts One

and Two of the Indictment, and a decision on whether to accept the plea agreement be deferred until

sentencing. I further RECOMMEND defendant remain in custody until sentencing in this matter.

Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and imposition of

sentence are specifically reserved for the district judge.


                                               s/fâátÇ ^A _xx
                                               SUSAN K. LEE
                                               UNITED STATES MAGISTRATE JUDGE

Case 1:12-cr-00048-CLC-SKL           Document 43           Filed 09/14/12   Page 1 of 2     PageID
                                           #: 73
                                      NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
of guilty in this matter. See 28 U.S.C. §636(b).




Case 1:12-cr-00048-CLC-SKL            Document 43        Filed 09/14/12      Page 2 of 2       PageID
                                            #: 74
